     Case 2:21-cv-03166-JWH-E Document 20 Filed 10/18/21 Page 1 of 1 Page ID #:31



 1

 2
                                                                           JS-6
 3

 4

 5

 6

 7

 8                            UNITED STATES DISTRICT COURT

 9                           CENTRAL DISTRICT OF CALIFORNIA

10

11   SCOTT ALLEN SEARS,                 )   NO. CV 21-3166-JWH(E)
                                        )
12              Plaintiff,              )
                                        )
13        v.                            )   JUDGMENT
                                        )
14   WARDEN LINDA SAUNDERS, ETC.,       )
                                        )
15              Defendants.             )
                                        )
16

17

18        Pursuant to the Order Accepting Findings, Conclusions and

19   Recommendations of United States Magistrate Judge,

20

21        It is hereby ORDERED, ADJUDGED, and DECREED that the action is

22   DISMISSED without prejudice.

23

24              DATED: October 18, 2021

25

26
                                              JOHN W. HOLCOMB
27                                       UNITED STATES DISTRICT JUDGE

28
